          Case 19-41311              Doc 11         Filed 05/28/19 Entered 05/28/19 11:17:49                         Desc Main
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 Fill in this information to identify your case:
 Debtor 1            Cecil                B.                      Davidson
                     First Name           Middle Name             Last Name

 Debtor 2            Nora                 Lee                     Davidson
 (Spouse, if filing) First Name           Middle Name             Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number         19-41311                                                                                                Check if this is an
 (if known)
                                                                                                                             amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                             12/15

If you are an individual filing under chapter 7, you must fill out this form if:

     creditors have claims secured by your property, or

     you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting
of creditors, whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors
and lessors you list on the form.

If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known).


 Part 1:        List Your Creditors Who Hold Secured Claims

1.    For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 106D),
      fill in the information below.

      Identify the creditor and the property that is collateral         What do you intend to do with the      Did you claim the property
                                                                        property that secures a debt?          as exempt on Schedule C?

      None.


 Part 2:        List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not
yet ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

      Describe your unexpired personal property leases                                                        Will this lease be assumed?

      Lessor's name:        Financial Pacific Leasing, Inc.                                                        No
      Description of leased 2009 Ford F-550 Bucket Lease                                                           Yes
      property:


      Lessor's name:        Michayla Vanderstelt                                                                   No
      Description of leased Tenant lease                                                                           Yes
      property:




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Debtor 1     Cecil B. Davidson
Debtor 2     Nora Lee Davidson                                                  Case number (if known)    19-41311

    Describe your unexpired personal property leases                                                     Will this lease be assumed?
    Lessor's name:        Sherrie Adams & William Stevens                                                    No
    Description of leased Tenant lease                                                                       Yes
    property:




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Debtor 1     Cecil B. Davidson
Debtor 2     Nora Lee Davidson                                                      Case number (if known)   19-41311

 Part 3:      Sign Below

   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and
   personal property that is subject to an unexpired lease.

X /s/ Cecil B. Davidson                              X /s/ Nora Lee Davidson
   Cecil B. Davidson, Debtor 1                           Nora Lee Davidson, Debtor 2

   Date 05/28/2019                                       Date 05/28/2019
        MM / DD / YYYY                                        MM / DD / YYYY




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